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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


  CONSUMER FINANCIAL PROTECTION
  BUREAU,                                                     Case No. _________________
                 Plaintiff,
                 v.                                           COMPLAINT &
                                                              DEMAND FOR JURY TRIAL
  CAPITAL ONE FINANCIAL
  CORPORATION and CAPITAL ONE,
  NATIONAL ASSOCIATION,

                 Defendants.


        The Consumer Financial Protection Bureau (Bureau) brings this action against Capital

 One, National Association (CONA) and Capital One Financial Corporation (COFC) (collectively

 with CONA, Capital One or the Bank) under Sections 1031, 1036, 1054, and 1055 of the

 Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531, 5536, 5564, and 5565;

 Sections 263 and 270 of the Truth in Savings Act (TISA), 12 U.S.C. §§ 4302 and 4309; and

 Section 1030.8 of TISA’s implementing regulation, Regulation DD, 12 C.F.R. § 1030.8; and

 alleges as follows:

                                        INTRODUCTION

        1.       Capital One illegally avoided paying billions in interest to millions of consumers

 who held its flagship “high interest” savings account, “360 Savings.” After promising 360

 Savings accountholders that 360 Savings provided one of the nation’s best interest rates, it froze

 the rate at a low level during a period when interest rates were rising nationwide. Around the

 same time, the Bank created a new product, “360 Performance Savings,” which was identical to

 360 Savings in every way other than its substantially higher interest rate, then obscured the new


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 product’s existence from 360 Savings accountholders to avoid paying them its higher interest.

         2.      Specifically, Capital One promised consumers that 360 Savings provided one of

 the nation’s “top,” “best,” and “highest” interest rates, and that by opening a 360 Savings

 account, their savings would “earn much more” in interest “than what it would in an average

 savings or money market account.” These representations led 360 Savings accountholders to

 believe they would not have to closely monitor their accounts’ rate because they could rely on

 Capital One to deliver on its promises. Capital One also made representations that created the net

 impression that 360 Savings was and would be the Bank’s only “high interest” savings product

 of its kind.

         3.      Then, in 2019, without notice to 360 Savings accountholders, Capital One

 ceased offering 360 Savings to new customers and replaced it with a new “high yield” savings

 product, 360 Performance Savings. This new savings product was identical to 360 Savings in

 every material way—the Bank marketed both products as “high interest” (or “high yield”) online

 savings accounts and gave them the same terms and conditions, including a variable interest rate,

 no minimum balance, and no monthly fees—with one exception: 360 Performance Savings has

 always had a substantially higher interest rate. In July 2024, for instance, the 360 Performance

 Savings rate was over 14 times the 360 Savings rate.

         4.      Capital One worked to keep 360 Savings accountholders in the dark about 360

 Performance Savings’ existence as a distinct savings product with a higher rate. The Bank gave

 the two products similar names and marketed 360 Performance Savings as it had 360 Savings; it

 eliminated references to 360 Savings on its website and replaced them with references to 360

 Performance Savings without disclosing that 360 Savings continued to exist as a distinct product,

 thus implying the products were the same; it did not specifically notify 360 Savings


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 accountholders about the new product and excluded 360 Savings accountholders from a

 marketing campaign that advertised 360 Performance Savings to Capital One’s other customers;

 and it explicitly forbade its employees from proactively telling 360 Savings accountholders about

 360 Performance Savings.

        5.       As a result of Capital One’s actions, 360 Savings accountholders either were not

 aware of 360 Performance Savings or were misled into believing their 360 Savings accounts

 were 360 Performance Savings accounts with the higher rate.

        6.       In the meantime, starting in December 2020 and continuing until at least August

 2024, the Bank froze the 360 Savings rate at 0.30%, even as savings account interest rates across

 the country rose sharply, starting in early 2022. By December 2022, 0.30% was at or below the

 national average money market and savings account rates published by the Federal Deposit

 Insurance Corporation (FDIC). By contrast, between April 2022 and August 2024, the Bank

 increased the 360 Performance Savings rate from 0.40% to 4.25%. Accordingly, for roughly the

 last two years, 360 Savings accountholders have not earned a rate that meets the promises

 Capital One made in its marketing materials.

        7.       Capital One’s misconduct allowed it to use 360 Performance Savings to attract

 new deposits to fund its other banking activities, without having to pay existing 360 Savings

 accountholders the interest the Bank had promised they would earn from 360 Savings. Because

 millions of 360 Savings accountholders never opened 360 Performance Savings accounts, the

 Bank has avoided paying over $2 billion in interest to these accountholders.

        8.       By failing to fulfill the consumer expectations it created, Capital One violated

 the CFPA’s prohibition on deceptive and abusive acts and practices, TISA, and Regulation DD.

 The Bureau thus brings this action to halt the Bank’s illegal conduct, provide redress to


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 consumers, and obtain appropriate penalties and other relief.

                                  JURISDICTION AND VENUE

        9.        This Court has subject-matter jurisdiction over this action because it is brought

 under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1); presents a federal question, 28

 U.S.C. § 1331; and is brought by an agency of the United States, 28 U.S.C. § 1345.

        10.       Venue is proper in this district because CONA and COFC are located, reside, and

 do business in this district. 12 U.S.C. § 5564(f).

                                              PARTIES

        11.       The Bureau is an independent agency of the United States charged with

 regulating “the offering and provision of consumer financial products or services under the

 Federal consumer financial laws.” 12 U.S.C. § 5491(a).

        12.       The Bureau has independent litigating authority, 12 U.S.C. § 5564(a)-(b),

 including the authority to enforce the CFPA, TISA, and Regulation DD, and to secure

 appropriate relief for violations of those provisions, 12 U.S.C. §§ 5481(12)(P) and (14), 5565; 12

 U.S.C. § 4309(a)(3), (b)(1); 12 C.F.R. § 1030.1(a).

        13.       CONA is a national bank headquartered in McLean, Virginia. It offers a variety

 of financial products and services to consumers, including deposit accounts. At various times, its

 deposit account offerings have included 360 Savings and 360 Performance Savings.

        14.       CONA is a “covered person” under the CFPA because it engages in deposit-

 taking activities, transmits and exchanges funds, or otherwise acts as a custodian of funds for use

 by or on behalf of consumers primarily for personal, family, or household purposes. 12 U.S.C.

 §§ 5481(5), (6)(A), (8), (15)(A)(iv).




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        15.      CONA is also a “[d]epository institution” subject to TISA and Regulation DD

 because its deposits are insured by the FDIC. 12 U.S.C. §§ 4302(e), 4313(6); 12 U.S.C.

 § 461(b)(1)(A)(i); 12 C.F.R. §§ 1030.2(j), 1030.8(a)(1).

        16.      COFC is a financial holding company incorporated in Delaware and headquartered

 in McLean, Virginia. COFC is the parent and holding company of CONA. CONA is a wholly

 owned subsidiary of COFC.

        17.      COFC is a “covered person” under the CFPA because it is an “affiliate” of

 CONA that acts as its “service provider.” 12 U.S.C. § 5481(6)(B).

        18.      COFC is CONA’s affiliate because it is CONA’s holding company and thus

 “controls” CONA. 12 U.S.C. § 5481(1). COFC is CONA’s service provider because it owns and

 maintains the website where many of the misrepresentations and omissions at issue occurred, and

 it promulgated the policies and procedures Capital One used and uses to set interest rates for 360

 Savings, 360 Performance Savings, and other Bank products. 12 U.S.C. § 5481(26)(A)(i).

                                   FACTUAL ALLEGATIONS

 A.     Capital One represented that 360 Savings was a “high interest” savings account that
        provided one of the nation’s highest savings rates and would earn much more
        interest than the average savings or money market account.

        19.     In 2012, COFC acquired the online bank ING Direct USA and its assets,

 including its online savings product, “ING Direct.”

        20.     ING Direct had been known for having higher-than-average interest rates.

        21.     In 2013, Capital One rebranded “ING Direct” as “360 Savings,” made ING Direct

 savings accountholders 360 Savings accountholders, and commenced offering 360 Savings

 accounts to the general public.

        22.     Many ING Direct savings accountholders who became 360 Savings


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 accountholders after COFC’s acquisition likely opened ING Direct savings accounts because of

 ING Direct’s high interest rates.

         23.        Capital One assured former ING Direct savings accountholders that, with 360

 Savings, they would “still have . . . great rates.” It also “pledge[d]” on its website that it would

 “continue to be home to no-fee, no-minimum checking and savings accounts—with the great

 rates that we know are important to you.”

         24.        Between 2013 and 2019, Capital One marketed 360 Savings as a “high interest”

 online savings account with “great rates.”

         25.        Consumers reasonably understand “high interest” savings accounts to refer to a

 specific type of savings product that is distinct from “traditional” savings accounts in at least one

 significant way: “High interest” savings accounts have interest rates that are many times higher

 than “traditional” savings account rates.

         26.        As Capital One’s website has explained since at least 2019, there is a difference

 between a “traditional” savings account and a “high interest” or “high yield” savings account:

 “It’s all about the interest.” “Simply put,” the website states, “a high-yield savings account—

 sometimes called a high-interest savings account—is a bank account that often has a higher

 interest rate or annual percentage yield (APY) than a traditional savings account.”

         27.        Other bank and consumer finance websites explain that the rates on “high

 interest” or “high yield” savings accounts can be as much as 15 times higher than the FDIC

 national average savings account rate, and 10 to 12 times higher than “traditional” savings

 account rates. 1


 1
  Sabrina Karl, What Is a High-Yield Savings Account?, Investopedia,
 https://www.investopedia.com/articles/pf/09/high-yield-savings-account.asp (last visited Jan. 13,
 2025) (“The interest rates on high-yield savings accounts can be 10 to 12 times higher than

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        28.      From 2013 to at least 2016, Capital One’s website—which COFC maintains with

 CONA—included a webpage for the “360 Savings account.”

        29.      The 360 Savings webpage described the product as an online savings account

 with high interest, no fees, and no minimum balance requirement. The webpage also featured a

 chart comparing the 360 Savings APY with what Capital One represented were national average

 savings and money market APYs. 2 That chart consistently showed the 360 Savings APY as

 substantially higher than the national average savings and money market APYs. Figures 1 and 2

 below show portions of the 360 Savings webpage as of April 2013 and December 2016,

 respectively.




 traditional savings account returns, and up to 15 times the FDIC national average [of a standard
 savings account].”); What is a High Yield Savings Account and How Does it Work?, PNC,
 https://www.pnc.com/insights/personal-finance/save/what-is-a-high-yield-savings-
 account.html#legal (last visited Jan. 13, 2025) (“The interest rates on these accounts can be ten
 times higher than the national average for a regular savings account.”); Margarette Burnette,
 What Is a High-Yield Savings Account?, Nerdwallet,
 https://www.nerdwallet.com/article/banking/high-interest-savings-account (Oct. 29, 2024) (“A
 high-yield savings account is a savings account that earns an above-average interest rate on
 deposits. . . . The average national rate for savings accounts is 0.42%, but a high-yield savings
 account earns up to 10 times that rate or more.”).
 2
   Capital One’s sources for these national averages varied. As shown in Figures 1 and 2, its
 sources include the “non-jumbo Weekly National Rates on FDIC.gov” and the “Informa
 Research Deposit Report.”
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                                   Figure 1




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                                             Figure 2




        30.    From May 2013 to at least March 2016, Capital One’s website also promised that

 “360 Savings has no fees, no minimums and no catches. Your money will earn much more than

 what it would in an average savings or money market account . . . . What’s the catch? There is

 none.” Figure 3 below shows a portion of the 360 Savings webpage in February 2013.

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                                             Figure 3




         31.    From April 2016 to February 2018, the webpage made the similar commitment

  that “[o]ur two savings products, 360 Savings and 360 Money Market, have no fees, no

  minimums, and no catches. Your money will earn much more than what it would in an average

  savings or money market account . . . . What’s the catch? There is none.” Figure 4 below shows a

  portion of the 360 Savings webpage in January 2018.




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                                                Figure 4




         32.     From at least November 2017 to January 2019, Capital One’s webpage for 360

  Savings featured a review from a “Capital One customer[]” that described the 360 Savings

  interest rate as “unmatched.”

         33.     Capital One marketed 360 Savings as a “high interest” savings account beyond its

  website. For example, between 2013 and 2019, the Bank sent numerous consumers mailers and

  emails that advertised 360 Savings as a “high interest” account with a “better everyday interest

  rate,” a “great everyday rate,” a “top savings rate,” “one of the nation’s highest savings rates”

  and “one of the nation’s best savings rates.” Likewise, in a 2018 mailer campaign encouraging

  consumers to deposit their tax refunds in 360 Savings accounts, Capital One described the 360

  Savings interest rate as “one of the nation’s top savings rates,” “one of the nation’s best savings

  rates,” and “one of the nation’s highest savings rates.”

         34.     Thus, although Capital One sets the 360 Savings interest rate and, per its account

  disclosures, can change the rate at its discretion, it was reasonable for consumers to interpret the

  Bank’s representations about the 360 Savings rate to mean that the Bank would use its discretion


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  to ensure that the rate was at a level that fulfilled the promises described above.

           35.     It was reasonable for consumers to expect that the Bank’s representations about

  the 360 Savings rate would remain true over the entire time period that 360 Savings

  accountholders held their accounts.

  B.       Capital One represented that the 360 Savings interest rate would vary based on
           market conditions and competition.

           36.     Capital One also repeatedly represented that it would adjust the 360 Savings rate

  in accordance with market conditions.

           37.     For example, in 2018, Capital One directed its customer service representatives to

  tell consumers—including 360 Savings accountholders—that the 360 Savings rate was “based

  on . . . [c]urrent market conditions” and “[o]ur competition.”

           38.     When national interest rates went down, Capital One told consumers that this

  decline would affect their rates. In 2019, the Bank directed its customer service representatives to

  tell consumers who inquired about the Bank’s interest rates—including 360 Savings

  accountholders—the following: “You may have heard on the news that Federal Reserve rates are

  moving downward, which aﬀects everything from mortgages to savings accounts. Because of

  these new market conditions, we’ve adjusted our deposit account rates . . . .”

           39.     And then, when national interest rates went up, Capital One told consumers that

  the increase would affect their rates. In 2022, the Bank altered its instructions to its customer

  service representatives, telling them to state the following: “You may have heard on the news

  that Federal Reserve rates are moving upward, which affects everything from mortgages to

  savings accounts. Because of these new market conditions, we’ve adjusted our deposit account

  rates . . . .”

           40.     In 2023, Capital One instructed associates to tell consumers—including 360

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  Savings accountholders—that, “[d]ue to current market conditions, we’ve adjusted our deposit

  account rates,” and that “[c]hanges in interest rates tend to track market rates.”

          41.    Consumers opened and maintained 360 Savings accounts based on Capital One’s

  representations that 360 Savings had a “high interest” rate that varied based on market conditions

  and the rates offered by competitors’ savings products. It was reasonable for consumers to

  interpret those representations to mean that the 360 Savings rate would increase when interest

  rates rose more generally.

          42.    Capital One gave consumers further reason to expect 360 Savings to perform in

  this way by following through on its representations from 2013 to 2019. During this period, the

  product’s interest rate varied with—and often outperformed—the federal funds rate 3 and

  exceeded the national average savings and money market account interest rates published by the

  FDIC.

  C.      Capital One represented that 360 Savings was and would be the Bank’s only high
          interest savings product of its kind.

          43.    From 2013 to 2019, Capital One marketed 360 Savings as the Bank’s only “high

  interest” savings account of its kind—i.e., (1) a high interest, online, non-retirement savings

  account for adults with a variable rate, no monthly fees, no minimum balance requirement, and

  no rate tiers; (2) under the “360” brand name; and (3) for which Capital One would provide an

  interest rate that was “great” and one of the nation’s “top” or “best” rates. On the Capital One


  3
    The federal funds rate, set by the Federal Reserve, “is the interest rate at which depository
  institutions trade federal funds (balances held at Federal Reserve Banks) with each other
  overnight. . . . The federal funds rate is the central interest rate in the U.S. financial market. It
  influences other interest rates such as the prime rate, which is the rate banks charge their
  customers with higher credit ratings. Additionally, the federal funds rate indirectly influences
  longer-term interest rates such as mortgages, loans, and savings, all of which are very important
  to consumer wealth and confidence.” Board of Governors of the Federal Reserve System (US),
  Federal Funds Effective Rate, FRED, Federal Reserve Bank of St. Louis,
  https://fred.stlouisfed.org/series/FEDFUNDS (last visited Jan. 13, 2025).
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  webpages that listed the Bank’s savings products and allowed consumers to compare products,

  360 Savings was the only account with all these features.

           44.    As described above, Capital One marketed the 360 Savings account as providing,

  among other things, an interest rate that was “great” and one of the nation’s “top” or “best” rates.

           45.    In its marketing materials, Capital One referred to 360 Savings as “360 Savings:

  the online savings account from Capital One 360” and “The 360 Savings Account.” 4

           46.    These representations gave the net impression that the 360 Savings product was

  and would be Capital One’s only (1) high interest, online, non-retirement savings account for

  adults with a variable rate, no monthly fees, no minimum balance requirement, and no rate tiers;

  (2) under the “360” brand name; and (3) for which Capital One would provide an interest rate

  that was “great” and one of the nation’s “top” or “best” rates.

           47.    It would not make any sense for a bank to characterize a product’s interest rate as

  “high,” “great,” and “one of the nation’s” “top” and “best” rates if the rate was far below the

  interest rate for another savings product that the same bank offered and also characterized the

  same way.

           48.    Before launching 360 Performance Savings, Capital One did not adequately

  disclose to 360 Savings accountholders that 360 Savings would no longer be its only high

  interest savings account with the features described in Paragraph 46 because the Bank was

  launching 360 Performance Savings and the new product would have materially the same terms,

  conditions, and features as 360 Savings, except for a substantially higher interest rate.

  D.       Capital One led 360 Savings accountholders to believe they did not need to closely
           monitor the rate on their accounts.

           49.    Capital One led 360 Savings accountholders to believe they could treat their


  4
      Emphases added.
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  accounts as long-term, passive savings vehicles that did not require routine monitoring.

         50.      It was reasonable for 360 Savings accountholders to interpret Capital One’s

  representations that 360 Savings was a “high interest” account with a “better everyday interest

  rate,” a “great everyday rate,” a “top savings rate,” “one of the nation’s highest savings rates”

  and “one of the nation’s best savings rates,” and that 360 Savings would earn “much more” in

  interest “than . . . an average savings or money market account,” to mean they would not have to

  closely monitor their accounts’ interest rate because they could rely on Capital One to deliver on

  its promises.

         51.      Capital One made additional representations that reinforced this interpretation. In

  2017, for instance, Capital One’s website told consumers that 360 Savings had a “[c]ompetitive

  rate you can bank on.”

         52.      In 2017 and 2018, when the Bank raised the 360 Savings rate, it assured

  accountholders that “[t]here’s nothing for you to do. Just sit back and enjoy the extra interest.”

         53.      From 2013 through at least 2018, Capital One encouraged 360 Savings

  accountholders to set up automatic transfers to their accounts as a way to “put [their] savings” or

  “money” “on autopilot” and “[k]ick back, relax, and save up,” further reinforcing the impression

  that 360 Savings was a long-term, passive savings vehicle that did not require routine

  monitoring.

         54.      As a result of these representations, many 360 Savings accountholders did not

  closely monitor their accounts’ interest rate.

         55.      Moreover, Capital One knew savings accountholders typically do not monitor

  their accounts. Sometime before October 2022, the Bank commissioned a survey to identify,

  among other things, how frequently consumers checked their savings accounts, and how many of


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  them knew what their savings account interest rate was. In October 2022, the Bank publicized its

  findings: “57% of respondents only check their savings account less than once a month – or not

  at all – and nearly half (48%) of respondents don’t know what their savings account interest rate

  is.”

  E.      Capital One launched a new “high yield” savings product, 360 Performance
          Savings, which was the same as 360 Savings in all ways other than its higher interest
          rate.

          56.     In September 2019, Capital One began offering a new online “high yield” savings

  product, called “360 Performance Savings.”

          57.     As described in Paragraph 26, on its website, Capital One has consistently

  explained that “high-yield savings account” and “high-interest savings account” are

  interchangeable terms.

          58.     Around the same time that it began offering 360 Performance Savings, Capital

  One stopped offering or opening new 360 Savings accounts.

          59.     360 Performance Savings was the same as 360 Savings in all material ways—

  except for its higher interest rate.

          60.     Like 360 Savings, 360 Performance Savings was and is an online, high interest,

  non-retirement savings account for adults with a variable rate, no monthly fees, no minimum

  balance requirement, and no rate tiers.

          61.     Capital One’s “Terms and Conditions” for 360 Performance Savings were and are

  materially the same as those for 360 Savings. Both products, for example, have consistently had

  the same terms and conditions for account eligibility; account ownership (e.g., individual

  account, joint account, joint account with a minor); minimum required balance (none); account

  fees (no monthly maintenance fees, but wire and account statement fees); deposit methods (e.g.,


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  cash, check, ACH, wire transfer); withdrawal methods (e.g., by phone, website, branch); deposit

  availability; interest compounding and crediting (monthly); automatic withdrawals; overdraft

  prohibition; and designated account beneficiary options. And the terms and conditions for both

  products have consistently specified that each product’s rate is “variable and may change at any

  time at [Capital One’s] discretion.”

         62.     Capital One also recognized, in talking points for Bank associates, that

  “Customers Who May Be A Good Fit” for 360 Performance Savings were “Individuals who

  want savings with a competitive interest rate with no tiered structure” and “Individuals who want

  an account with no fees or minimums”—in other words, 360 Savings accountholders.

         63.     The only thing that has ever meaningfully distinguished 360 Performance Savings

  from 360 Savings is the former product’s higher interest rate. Since 360 Performance Savings’

  launch, Capital One has consistently kept its interest rate higher than the 360 Savings rate, and

  the gap between these products’ rates has grown immensely over time.

         64.     As the chart in Figure 5 below shows, when Capital One launched 360

  Performance Savings in September 2019, it set the product’s interest rate at 1.90%. At the time,

  the 360 Savings interest rate was 1.00%. Between late 2019 and late 2020, as the federal funds

  rate trended downwards then plateaued, Capital One dropped the 360 Performance Savings rate

  to 0.40% and the 360 Savings rate to 0.30%.

         65.     As the chart in Figure 5 below further shows, when the federal funds rate steadily

  increased from 0.07% in January 2022 to 4.33% in January 2023, then to 5.33% in January 2024,

  the Bank increased the 360 Performance Savings rate from 0.40% in April 2022 to 3.30% in

  January 2023, and then to 4.35% in January 2024, where it remained until April 2024. During

  this same time period, however, the 360 Savings rate remained at 0.30%. By August 2024, the


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  360 Performance Savings rate was 4.25%, but the 360 Savings rate was still at 0.30%.

                                              Figure 5




         66.    Since 2009, the FDIC has published the monthly average interest rates paid on

  U.S. savings and money market accounts, based on available data.

         67.    From December 2022 through at least August 2024, the 360 Savings rate has

  remained below the national average money market account rate published by the FDIC.

         68.    From December 2022 through at least August 2024, the 360 Savings rate has

  remained at or below the national average savings account interest rate published by the FDIC.

         69.    Because the only material difference between 360 Savings and 360 Performance

  Savings has always been the latter product’s higher interest rate, no reasonable consumer

  deciding between the two products would ever have preferred 360 Savings to 360 Performance

  Savings.



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  F.     Capital One obscured 360 Performance Savings’ existence and higher interest rate
         from 360 Savings accountholders.

         70.     Capital One obscured 360 Performance Savings’ existence and higher interest rate

  from 360 Savings accountholders in at least six ways.

         71.     First, Capital One did not notify 360 Savings accountholders that it was offering a

  new, nearly identical savings product with a higher interest rate or that it was no longer offering

  or opening new 360 Savings accounts. Rather, through emails, direct mail, and targeted

  advertising on its online banking platform, the Bank promoted 360 Performance Savings to

  existing customers who did not have 360 Savings accounts, including its credit card customers,

  checking accountholders, and CD customers.

         72.     In contrast, when Capital One increased the interest rate on its 360 Money Market

  product in 2017, it alerted 360 Savings accountholders to this change in a mailer, telling them it

  “want[ed] our valued customers to know” that they “could be earning more” in the 360 Money

  Market account. The mailer featured a chart comparing 360 Savings and 360 Money Market

  account rates and showing, based on a range of example account balances, how much

  “[a]dditional interest” 360 Savings accountholders could earn in a 360 Money Market account.

         73.     Second, Capital One gave 360 Performance Savings nearly the same name as 360

  Savings, the same features as 360 Savings, and the same terms and conditions as 360 Savings.

         74.     Third, the Bank promoted 360 Performance Savings by emphasizing the same

  characteristics it had emphasized when promoting 360 Savings—it marketed 360 Performance

  Savings as an online, “high interest” (or “high yield”) savings account for adults with no monthly

  fees, no minimum balance requirement, and a variable rate that was and would be “a great rate,”

  “a top savings rate,” “one of the nation’s top savings rates,” and “one of the best savings rates in

  America.”

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          75.     Fourth, Capital One eliminated nearly all references to 360 Savings from its

  website and marketing, further obscuring that 360 Savings and 360 Performance Savings were

  two separate products.

          76.     Fifth, on its website, Capital One promoted 360 Performance Savings in ways

  that (1) hid that 360 Performance Savings was distinct from 360 Savings and (2) suggested that

  the former was simply a re-branding of the latter. As detailed below, the Bank replaced the

  website’s references to “360 Savings” with references to “360 Performance Savings,” without

  disclosing that 360 Savings continued to exist as a separate savings product with a lower rate.

          77.     For instance, from 2013 to 360 Performance Savings’ launch in September 2019,

  Capital One’s website dedicated a webpage to “The 360 Savings account.” After 360

  Performance Savings’ introduction, however, Capital One replaced that webpage with one that

  was dedicated to the new product and did not mention 360 Savings.

          78.     As another example, since at least November 2017, Capital One’s website has had

  a page where consumers can view side-by-side comparisons of the Bank’s savings products on

  key criteria, like their respective interest rates and fees. At different points in time, these

  webpages were titled “Compare savings accounts,” “View All Savings Accounts,” “Compare all

  accounts,” or “Compare all accounts and rates.”

          79.     In September 2019, just before Capital One launched 360 Performance Savings,

  the Bank’s “Compare savings accounts” webpage appeared as shown in Figure 6 below, listing

  360 Savings among its other savings products:




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                                              Figure 6




         80.     The title and inclusion of multiple distinct savings accounts on this webpage

  implied that this was a comparison of all Capital One savings products. And the webpage did,

  indeed, show all savings products Capital One offered just before it launched 360 Performance

  Savings.

         81.     As shown in Figure 7 below, after 360 Performance Savings’ launch, Capital One

  replaced the information panel for 360 Savings on its “Compare savings accounts” webpage with

  a virtually identical information panel for 360 Performance Savings. On this webpage, the

  information panel stated that 360 Performance Savings had no minimum balance requirement

  and no fees. Capital One did not disclose that 360 Performance Savings was a different product

  from 360 Savings or that 360 Savings continued to exist as a savings product that Capital One

  accountholders still used.
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                                              Figure 7




         82.     The same is true of all other Capital One webpages designed to allow consumers

  to compare the Bank’s savings products (“View All Savings Accounts,” “Compare all accounts,”

  and “Compare all accounts and rates”): After 360 Performance Savings’ launch, Capital One

  simply substituted “360 Performance Savings” for “360 Savings” on these pages without

  disclosing that they were different products or otherwise referencing 360 Savings.

         83.     Similarly, until 360 Performance Savings’ launch, Capital One’s website featured

  an “FAQ” webpage for 360 Savings. After 360 Performance Savings’ launch, Capital One

  replaced this webpage with a similar FAQ webpage for 360 Performance Savings. Both FAQ

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  webpages had the same format, nearly the same title, and used the same promotional language—

  “Unlock everything you need to know to open a 360 [Performance] Savings account today.”

           84.   Although the 360 Performance Savings FAQs included a few questions not

  included in the 360 Savings FAQs, neither its questions nor its answers disclosed that 360

  Performance Savings was not the same product as 360 Savings. And yet, the 360 Performance

  Savings FAQs did include and answer the question, “What’s the difference between a 360

  Performance Savings account and a 360 CD account?”

           85.   Instead, the 360 Savings and 360 Performance Savings FAQs suggested the two

  products were one and the same: as both sets of FAQs explained, both products were online

  savings accounts and had no monthly fees or minimum balance requirement, had a limit of 6

  withdrawals per month, permitted transfers via mobile app or “Automatic Savings Plan,” could

  have up to 10 individuals as “Payable on Death” beneficiaries, and could be opened online or at a

  Bank location, among other features.

           86.   Finally, Capital One obscured the fact that 360 Performance Savings was a

  distinct product with a higher interest rate from 360 Savings accountholders by prohibiting Bank

  employees from sharing such information with 360 Savings accountholders, outside of very

  limited circumstances.

           87.   For example, the Bank told front-line “ambassadors”—associates who work in the

  Bank’s physical branches—they “must not proactively mention the ability to convert [360

  Savings accounts to 360 Performance Savings accounts] to customers.” 5 Similarly, the Bank

  forbade its ambassadors from forwarding 360 Savings accountholders to Bank Voice—the

  Bank’s unit that handles account conversions—unless the accountholders “ask[ed] directly about



  5
      Emphasis added.
                                                 23
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  the ability to convert accounts.” 6

           88.   Likewise, the Bank instructed its employees to “only be reactive in mentioning

  360 Performance Savings to . . . 360 Savings account holders.” 7 It further told its employees that

  they could “[o]nly offer the option to convert [a 360 Savings] account” to a 360 Performance

  Savings account in four scenarios, each of which involved a 360 Savings accountholder who was

  (1) already aware that 360 Performance Savings was a distinct product from 360 Savings or (2)

  was expressly unhappy about their 360 Savings interest rate.

           89.   As a consequence of Capital One’s efforts to obscure the difference between 360

  Performance Savings and 360 Savings from 360 Savings accountholders, it was reasonable for

  360 Savings accountholders to (1) not know Capital One was offering a new savings product

  identical to 360 Savings in all ways other than its higher interest rate; (2) believe their 360

  Savings accounts were 360 Performance Savings accounts and therefore assume they were

  receiving the 360 Performance Savings interest rate that Capital One advertised; or (3) not

  understand that their 360 Savings accounts’ interest rate no longer fulfilled Capital One’s

  representations about the rate it would offer for 360 Savings.

           90.   Even though 360 Savings accountholders had no reason to prefer 360 Savings to

  360 Performance Savings, fewer than a quarter of consumers who held 360 Savings accounts as

  of the date of the new product’s launch in September 2019 had opened 360 Performance Savings

  accounts as of July 2024.

  G.       Capital One profited from obscuring 360 Performance Savings’ existence as a
           distinct product with a higher interest rate.

           91.   Capital One has avoided paying millions of 360 Savings accountholders more



  6
      Emphasis added.
  7
      Emphasis added.
                                                    24
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  than $2 billion in interest it would have had to pay them had they opened 360 Performance

  Savings accounts.

                                             COUNT I
                        Violation of the CFPA - Abusive Acts and Practices
                                      (Against All Defendants)

               Capital One took unreasonable advantage of 360 Savings accountholders’
                    lack of understanding of 360 Savings’ material risks and costs.

         92.      The Bureau incorporates and re-alleges by reference Paragraphs 1-91.

         93.      The CFPA makes it unlawful for covered persons to engage in any abusive act or

  practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is abusive if it “takes unreasonable

  advantage of . . . a lack of understanding on the part of the consumer of the material risks, costs,

  or conditions of the product or service.” 12 U.S.C. § 5531(d)(2)(A).

         94.      360 Savings accountholders did not understand the following material risks and

  costs of 360 Savings:

                  a)      They did not understand the risk that Capital One would offer another

                          savings product with materially identical features except for its

                          substantially higher interest rate.

                  b)      Because they did not know about 360 Performance Savings and its higher

                          rate, or that 360 Performance Savings was distinct from 360 Savings, they

                          did not understand the risk that they were using the Bank’s vastly inferior

                          savings product without any benefit that would justify the lower interest

                          rate. They also did not understand the opportunity cost of keeping their

                          360 Savings accounts and not opening 360 Performance Savings accounts,

                          in the form of additional interest they missed out on earning.

                  c)      They did not understand the risk that Capital One would fail to deliver on

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                         its promises about the 360 Savings rate. Encouraged in part by Capital

                         One’s representations, they considered 360 Savings to be a passive, long-

                         term savings product that did not require routine monitoring, and as a

                         result, they did not understand the risk that they would have to check

                         whether Capital One was delivering on its promises by regularly

                         monitoring their accounts for interest rate changes and comparing the rates

                         provided against market rates, such as national average rates or Capital

                         One’s competitors’ rates; and the risk that they would have to regularly

                         monitor Capital One’s marketing for new savings products to avoid

                         missing out on the interest Capital One promised them.

         95.     Capital One took advantage of 360 Savings accountholders’ lack of understanding

  of these risks and costs by avoiding paying these accountholders the substantial additional

  interest it would have paid them had they understood these risks and costs and thus opened 360

  Performance Savings accounts.

         96.     Both COFC and CONA financially benefited from this conduct. CONA increased

  its profits, and thus COFC’s profits, by retaining billions in additional interest it would have paid

  360 Savings accountholders had they opened 360 Performance Savings accounts.

         97.     Capital One’s advantage was unreasonable because, as described in Paragraphs

  70-90, the Bank contributed to this lack of understanding by obscuring 360 Performance

  Savings’ existence and higher interest rate from 360 Savings accountholders.

         98.     Accordingly, Capital One engaged in abusive acts or practices, in violation of the

  CFPA. 12 U.S.C. §§ 5531(a), (d)(2)(A), 5536(a)(1)(B).




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                                            COUNT II
                       Violation of the CFPA - Deceptive Acts and Practices
                                      (Against All Defendants)

                 Capital One falsely represented that 360 Savings was and would be
                      the Bank’s only high interest savings product of its kind.

         99.     The Bureau incorporates and re-alleges by reference Paragraphs 1-91.

         100.    The CFPA makes it unlawful for covered persons to engage in any deceptive act

  or practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is deceptive if it involves a material

  misrepresentation or omission that is likely to mislead consumers acting reasonably under the

  circumstances. A misrepresentation or omission is material to consumers if it is likely to affect

  consumers’ choice of, or conduct regarding, the product or service.

         101.    As outlined in Paragraphs 43-47 from 2013 to 2019, Capital One made

  representations that gave consumers the net impression that the 360 Savings product was and

  would be Capital One’s only (1) high interest, online, non-retirement savings account for adults

  with a variable rate, no monthly fees, no minimum balance requirement, and no rate tiers; (2)

  under the “360” brand name; (3) for which Capital One would provide an interest rate that was

  “great” and one of the nation’s “top” or “best” rates.

         102.    Before launching the 360 Performance Savings product, Capital One did not

  adequately disclose to 360 Savings accountholders that 360 Savings would no longer be its only

  high interest savings account with the features described in Paragraph 101 because the Bank was

  launching 360 Performance Savings and the new product would have materially the same terms,

  conditions, and features as 360 Savings, except for a substantially higher interest rate.

         103.    These representations and omissions were false or otherwise misleading because,

  in 2019, Capital One began offering 360 Performance Savings—a new (1) high interest, online,

  non-retirement savings product for adults with a variable rate, no monthly fees, no minimum

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  balance requirement, and no rate tiers; (2) under the same “360” brand name; (3) for which

  Capital One would provide an interest rate that was “great” and one of the nation’s “top” or

  “best” rates—in other words, a savings product with materially the same terms, conditions, and

  features as 360 Savings, except for a substantially higher interest rate.

         104.    Capital One’s misrepresentations were material because they concerned a central

  characteristic of 360 Savings—its interest rate—and because they induced or were likely to

  induce 360 Savings accountholders to maintain their accounts instead of opening 360

  Performance Savings accounts and earning significantly more interest.

         105.    Accordingly, Capital One engaged in deceptive acts or practices, in violation of

  the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                                            COUNT III
                       Violation of the CFPA - Deceptive Acts and Practices
                                      (Against All Defendants)

                          Capital One misrepresented the 360 Savings rate.

         106.    The Bureau realleges and incorporates by reference Paragraphs 1-91.

         107.    The CFPA makes it unlawful for covered persons to engage in any deceptive act

  or practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is deceptive if it involves a material

  misrepresentation or omission that is likely to mislead consumers acting reasonably under the

  circumstances. A misrepresentation or omission is material to consumers if it is likely to affect

  consumers’ choice of, or conduct regarding, the product or service.

         108.    As outlined in Paragraphs 19-42, from 2013 to at least early 2019, Capital One

  advertised 360 Savings as a “high interest” savings account with a “variable” rate that was and

  would be “great,” “top,” and “one of the nation’s best” and “highest” relative to market

  conditions and the Bank’s competition. From at least 2013 to 2018, Capital One also promised


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  that, in a 360 Savings account, consumers’ “money [would] earn much more than what it would

  in an average savings or money market account.” And from at least 2018 to 2021, Capital One

  told consumers that 360 Savings’ rate was based on “market conditions” and its competitors’

  rates.

           109.    These representations were false or otherwise misleading for the reasons

  described in Paragraphs 63-69 above. For example, no reasonable consumer would understand a

  “high interest” savings account rate that was “great,” “top,” or “one of the nation’s” “best” and

  “highest,” to mean 0.30% over the years-long period of rising interest rates that has prevailed

  since December 2022.

           110.    Capital One’s representations about the 360 Savings interest rate were material

  because they affected or were likely to affect 360 Savings accountholders’ decisions to open and

  maintain their 360 Savings accounts.

           111.    Accordingly, Capital One engaged in deceptive acts or practices, in violation of

  the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                                             COUNT IV
                                Violation of TISA and Regulation DD
                                          (Against CONA)

                            CONA’s advertisements for 360 Savings included
                  misleading and inaccurate representations about the 360 Savings rate.

           112.    The Bureau incorporates and re-alleges by reference Paragraphs 1-91.

           113.    TISA provides that “[n]o depository institution or deposit broker shall make any

  advertisement, announcement, or solicitation relating to a deposit account that is inaccurate or

  misleading or that misrepresents its deposit contracts.” 12 U.S.C. § 4302(e).

           114.    Similarly, Regulation DD, TISA’s implementing regulation, provides: “An

  advertisement shall not . . . [b]e misleading or inaccurate or misrepresent a depository

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  institution’s deposit contract.” 12 C.F.R. § 1030.8(a)(1).

         115.    As outlined in Paragraphs 19-35, from 2013 to at least early 2019, CONA

  advertised 360 Savings as a “high interest” savings account with a “variable” rate that was and

  would be “great,” “top,” and “one of the nation’s best” and “highest” relative to market

  conditions and the Bank’s competition. From at least 2013 to 2018, CONA also promised that, in

  a 360 Savings account, consumers’ “money [would] earn much more than what it would in an

  average savings or money market account.”

         116.    These representations were false or otherwise misleading for the reasons

  described in Paragraphs 63-69 above. For example, no reasonable consumer would understand a

  “high interest” savings account rate that was “great,” “top,” or “one of the nation’s” “best” and

  “highest,” to mean 0.30% over the years-long period of rising interest rates that has prevailed

  since December 2022.

         117.    Accordingly, CONA violated TISA and Regulation DD. 12 U.S.C. § 4302(e); 12

  C.F.R. § 1030.8(a)(1).

                                         COUNT V
                  Violation of the CFPA by violating TISA and Regulation DD
                                       (Against CONA)

         118.    The Bureau incorporates and re-alleges by reference Paragraphs 1-91.

         119.    Under the CFPA, it is unlawful for covered persons to offer or provide to a

  consumer any financial product or service not in conformity with Federal consumer financial law

  or otherwise commit any act or omission in violation of a Federal consumer financial law. 12

  U.S.C. § 5536(a)(1)(A).

         120.    Federal consumer financial law includes TISA and Regulation DD. 12 U.S.C.

  § 5481(12)(P), (14); 12 C.F.R. § 1030.1(a).


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         121.   Additionally, under TISA, a violation of any of TISA’s requirements “shall be

  deemed to be a violation of a requirement imposed under” the CFPA. 12 U.S.C. § 4309(b)(1).

         122.   Accordingly, CONA’s violations of TISA and Regulation DD, as described in

  Count IV, are violations of the CFPA. 12 U.S.C. §§ 4309(b)(1), 5536(a)(1)(A).

                                      PRAYER FOR RELIEF

         WHEREFORE, the Bureau requests that this Court, as permitted by 12 U.S.C. § 5565:

                a. permanently enjoin Defendants from committing future violations of the

                   CFPA, TISA, and Regulation DD;

                b. grant such additional injunctive relief as the Court deems just and

                   proper;

                c. award such monetary relief as the Court finds necessary to redress injury

                   to consumers resulting from Capital One’s violations, including but not

                   limited to restitution, disgorgement or compensation for unjust

                   enrichment, and payment of damages;

                d. impose civil money penalties against Defendants under 12 U.S.C. § 5565(c);

                e. award the Bureau its costs in bringing this action; and

                f. award additional relief as the Court deems just and proper.




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                                 DEMAND FOR JURY TRIAL

        The Bureau demands a trial by jury on all triable issues.

  Dated January 14, 2025                      Respectfully submitted,

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